                     UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN

In re:
                                                          Case No. 23-49817
Residents First, LLC,                                     Chapter 11
                                                          Hon. Mark A. Randon
     Debtor.
_______________________________________/

                        AMENDMENT TO
           MONTHLY OPERATING REPORT FOR JANUARY, 2024

         Residents First, LLC (“Debtor”) through counsel, Heilman Law PLLC,

states:

         Attached is a replacement statement of insider compensation for

Scott Pistorius. The statement filed with Debtor’s January Monthly

Operating Report [ECF # 75] mistakenly disclosed compensation for

February and not for January.



                                      Respectfully submitted,

                                      HEILMAN LAW PLLC

Dated: March 20, 2024                 By: /s/ Ryan D. Heilman
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